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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

                                      GENERAL ORDER 09 − 1
                                          January 6, 2009


       REGARDING THE E−GOVERNMENT ACT AND PERSONAL IDENTIFIERS

    In compliance with the Policy of the Judicial Conference of the United States
and the E−Government Act of 2002, in all civil and criminal actions, counsel and
pro se litigants shall read and comply with Local Rule 5.3 governing personal data
identifiers (that is: social security numbers; dates of birth; names of minor children;
and financial account numbers). These personal identifiers shall be redacted before
documents, including exhibits, are filed for the public file within the CM/ECF
system. Failure to comply with the Local Rule may result in sanctions (such as the
striking of a pleading or the imposition of monetary penalties).
So Ordered.

Mark L. Wolf                                 Joseph L. Tauro
Chief Judge                                  United States District Judge

Rya W. Zobel                                 William G. Young
United States District Judge                 United States District Judge

Douglas P. Woodlock                          Nathaniel M. Gorton
United States District Judge                 United States District Judge

Richard G. Stearns                           Reginald C. Lindsay
United States District Judge                 United States District Judge

Patti B. Saris                               Nancy Gertner
United States District Judge                 United States District Judge

Michael A. Ponsor                            George A. O'Toole
United States District Judge                 United States District Judge

F. Dennis Saylor IV                          Edward F. Harrington
United States District Judge                 Senior United States District Judge

Morris E. Lasker
Senior United States District Judge
